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                   UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF COLUMBIA



US DOMINION, INC., DOMINION VOTING
SYSTEMS, INC., and DOMINION VOTING
SYSTEMS CORPORATION,

            Plaintiffs/Counter-Defendants,
                                                 Case No. 21-cv-445-CJN
      vs.

MY PILLOW, INC., Defendant/Counter-Claimant.

MICHAEL J. LINDELL, Defendant/Counter-
Claimant/Third-Party Plaintiff,

      vs.

SMARTMATIC USA CORP., SMARTMATIC
INTERNATIONAL HOLDING B.V., SGO
CORPORATION LIMITED, and HAMILTON
PLACE STRATEGIES, LLC,

            Third-Party Defendants.


      SMARTMATIC DEFENDANTS’ MEMORANDUM IN SUPPORT OF THEIR
                     MOTION TO DISMISS
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                                        INTRODUCTION

       Fiction. Presenting fiction as fact outside the courtroom can result in a defamation lawsuit.

Presenting fiction as fact inside the courtroom should result in dismissal and sanctions. The First

Amendment allows Mr. Lindell to espouse his fictional views about the 2020 U.S. election outside

the courtroom with the understanding that he will face legal consequences for doing so. But the

Federal Rules of Civil Procedure do not allow Mr. Lindell and his attorneys to present fictitious

claims inside the courtroom. Mr. Lindell’s claims against Smartmatic USA Corp., Smartmatic

International Holding B.V., and SGO Corporation Limited (collectively, “Smartmatic”) are

fictitious. No court has ever found a claim based on the “facts” alleged against Smartmatic.

                                OVERVIEW OF ARGUMENTS

       Mr. Lindell asserts five claims against Smartmatic: (1) violation of the Support and

Advocacy Clause; (2) participation in a civil conspiracy with US Dominion, Inc., Dominion

Voting Systems, Inc., Dominion Voting Systems Corporation, and Hamilton Place Strategies, LLC

(collectively, “Dominion”); (3) violation of the Equal Protection Clause and the Due Process

Clause under 42 U.S.C. § 1983; (4) violation of the First Amendment under Section 1983; and (5)

violation of the Racketeer Influenced and Corrupt Organization Act (“RICO”). These claims are

as farcical as they appear. They are all foreclosed by existing law, and Mr. Lindell alleges no facts

to satisfy their elements. Each claim also centers on the idea that Mr. Lindell was “punished” for

speaking out about the 2020 U.S. election. But he does not identify a single act by Smartmatic

targeting or related to him, much less an act that prevented him from speaking out.

       Support and Advocacy Clause (Count IV). Mr. Lindell fails to state a claim against

Smartmatic for violation of the Support and Advocacy Clause under 42 U.S.C. § 1985(3). First,

this statute requires a conspiracy, and Mr. Lindell’s allegations of a conspiracy between Dominion

and Smartmatic are insufficient. Second, none of the defendants’ alleged acts rises to the level of

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“force, intimidation, or threat,” which Mr. Lindell must show to state a claim. Third, Section

1985(3) is remedial and requires violation of an underlying, substantive right. The only right Mr.

Lindell claims the defendants violated is his exercise of free speech under the First Amendment.

But such a violation requires state action, and none is alleged here. Each of these pleading

deficiencies justifies dismissal of Count IV.

       Civil conspiracy (Count VII). Mr. Lindell fails to state a claim against Smartmatic for

civil conspiracy with Dominion. At the threshold, Mr. Lindell’s claim fails because he alleges a

conspiracy between Dominion and Smartmatic “to deprive [him] of his constitutional rights under

the First Amendment.” (Compl. ¶¶ 181, 183.) Such a conspiracy cannot exist as a matter of law

because it requires a governmental actor’s participation, which is absent here. Mr. Lindell’s claim

is also defective because (a) he has no viable underlying claim, and (b) he has insufficiently alleged

a conspiracy between Smartmatic and Dominion.

       First, Fifth, and Fourteenth Amendments Under § 1983 (Counts V, VI). Mr. Lindell

fails to state a claim against Smartmatic under 42 U.S.C. § 1983. He premises these claims on

alleged violations of his First, Fifth, and Fourteenth Amendment rights. But Mr. Lindell alleges

no interaction between himself and Smartmatic, much less a deprivation of his constitutional

rights. Mr. Lindell also erroneously assumes that Smartmatic is a “state actor” and fails to connect

any purported “state action” to his alleged injuries.

       RICO (Count III). Mr. Lindell fails to state a RICO claim against Smartmatic. To plead a

RICO violation, he must plausibly allege four elements: (1) conduct (2) of an enterprise (3) through

a pattern (4) of racketeering activity. At a minimum, the Complaint insufficiently alleges the first,

second, and fourth elements. Mr. Lindell fails to allege any facts to show that Smartmatic and




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Dominion: committed any predicate act of racketeering; “conducted or participated” in the alleged

enterprise; or that an “enterprise” existed. 1 Count III can be dismissed on any of these grounds.

                                                 ***

       At their core, all of Mr. Lindell’s claims are predicated on three facts: (1) Dominion sent

letters requesting certain individuals and organizations to “cease and desist” from defaming the

company; (2) Dominion filed lawsuits against some of those individuals and organizations,

including Mr. Lindell, for defamation; and (3) Smartmatic filed lawsuits against certain individuals

and organizations for defaming the company and disparaging its product and services. 2 No court

has ever found such actions to constitute “racketeering activity,” a violation of the Support and

Advocacy Clause, or an infringement of the U.S. Constitution, and for good reason. They are

actions companies and lawyers take every day across the country. The judicial system would serve

little purpose if parties who believe they are aggrieved cannot file a lawsuit to address grievances.




1
  Smartmatic focuses on the racketeering, conduct, and enterprise elements of Mr. Lindell’s RICO
claim because he cannot possibly (forget plausibly) satisfy them. But the Complaint also fails to
allege a pattern of racketeering, causation and cognizable damages under RICO. Smartmatic has
refrained from scorching every facet of Mr. Lindell’s baseless claims in order to comply with its
duty to mitigate under Fed. R. Civ. P. 11. See 5 Charles Allan Wright & Arthur R. Miller, 5A Fed.
Prac. & Proc. Civ. § 1336.3 (4th ed.) (“A party who believes that he or she is being subjected to
sanctionable behavior has a duty to mitigate costs and to prevent his opponent’s behavior from
having unnecessary or excessive consequences.”). Smartmatic will be seeking sanctions against
Mr. Lindell and his counsel for bringing this action, including recovery of the legal fees
Smartmatic had to expend to prepare this motion to dismiss against his “$2 billion” complaint.
(See Compl. ¶ 138, ECF No. 87.)
2
 Smartmatic has not yet filed a defamation and disparagement claim against Mr. Lindell or his
company, MyPillow, but will be doing so. As alleged in the Complaint, Dominion has done so.
(Compl. ¶ 106.) The Court can take judicial notice of the fact that Mr. Lindell’s and MyPillow’s
motion to dismiss that complaint was denied in full. Dominion, Inc., et al. v. My Pillow Inc., et al.,
Case No. 1:21-cv-445, ECF No. 54 (D.D.C. Aug. 11, 2021).

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                                   STATEMENT OF FACTS

         The gravamen of Mr. Lindell’s Third-Party Complaint (“Complaint”) is that Dominion and

Smartmatic have “weaponize[ed] the litigation process” against Mr. Lindell “to suppress the

revelation and public discussion of [certain] truths.” (Compl. ¶¶ 1, 20, 21, 138 (ECF No. 87).) 3 As

proof of this “lawfare” — a term of art he borrows from Wikipedia 4 — Mr. Lindell points to two

acts: (1) Dominion’s service of cease-and-desist letters upon him; and (2) Dominion’s filing of a

suit against him and his company, MyPillow, Inc. (Id. ¶ 136.)

         Notably, however, Mr. Lindell does not allege that Smartmatic has engaged in any

“lawfare” against him. Indeed, Smartmatic and Mr. Lindell had never been parties to the same

litigation until he sued Smartmatic in case number 21-cv-2296 (D.D.C.). More broadly speaking,

Mr. Lindell does not allege to have had any interaction with Smartmatic outside this litigation.

Smartmatic has never sent him any “threatening letter,” “intimidating” communication, or “threat”

of any kind. (See id. ¶¶ 128, 129, 132.)

         So why has Mr. Lindell sued Smartmatic? Well, according to his Complaint, he wanted to

“fight back” against Smartmatic for a lawsuit it filed in New York against “Fox News; journalists

Lou Dobbs, Maria Bartiromo, and Jeanine Pirro; and former Trump attorneys Rudy Giuliani and

Sydney Powell,” and for its other lawsuits against One America News and Newsmax. 5 (See id.




3
 All internal quotations and citations have been omitted, and emphasis added, unless otherwise
noted.
4
    (See Compl. ¶ 22 fn. 49) (“Lawsuit Warfare = Lawsuit + Warfare = Lawfare.”)
5
  The Complaint cites Smartmatic’s litigation against Fox News and others. (Compl. ¶ 16.)
However, Mr. Lindell did not attach a copy of Smartmatic’s complaint as an exhibit to his
Complaint. The Court “may consider the facts alleged in the complaint, documents attached thereto
or incorporated therein, and matters of which it may take judicial notice” in ruling on a motion to
dismiss for failure to state a claim under Fed. R. Civ. P. 12(b)(6). Farah v. Esquire Magazine, 736
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¶¶ 16, 36, 137, 140.) Mr. Lindell cops to this objective in his pleading. Having had no direct contact

with Smartmatic himself, he needed a way to link Smartmatic to Dominion, so he could hold

Smartmatic responsible for what Dominion allegedly did to him.

       Mr. Lindell’s Complaint advances two plotlines to create this link.

       No. 1: “United in a Common Purpose.” The first story Mr. Lindell tells is that

Smartmatic and Dominion were “unit[ed] in a common purpose” following the 2020 election to

stifle any criticism of “electronic voting machines.” (Id. ¶¶ 1–5, 11–12, 21, 136–37.) He begins

with the premise that Smartmatic’s “electronic voting machines and software” are “vulnerable to

cyberattacks” and “hacking.” (Id. ¶¶ 3, 8.) Then, at some undetermined point, Smartmatic allegedly

became “desperate to cover up” not only the “gross security flaws” in its “electronic voting

systems,” but also “information showing cyber attacks and hacking in the November 2020

election.” (Id. ¶ 21.) To accomplish its “cover up,” Smartmatic allegedly joined forces with

Dominion to “silence [Mr. Lindell’s] and others’ political speech about election fraud and the role

of electronic voting machines in it.” (Id. ¶ 36.)

       The key to this plotline is what Mr. Lindell does not allege. Mr. Lindell acknowledges the

one jurisdiction in which Smartmatic operated during the 2020 election—Los Angeles County,

California—but alleges no problems there. (Id. ¶ 54.) He does not even identify the technology or

services Smartmatic provided to Los Angeles County. (Id.) Mr. Lindell similarly glosses over the

alleged “gross security flaws” and cyberattack “vulnerabilities” in Smartmatic’s systems. (Id. ¶¶

3, 20, 21.) His Complaint identifies no particular security flaw or “vulnerability” in any elections

solution Smartmatic has ever provided. While Mr. Lindell repeatedly alleges that “electronic



F.3d 528, 534 (D.C. Cir. 2017). The court may also “take judicial notice of publicly filed
documents in related litigation.” Atchison v. U.S. Dist. Cts., 190 F. Supp. 3d 78, 84 (D.D.C. 2016).

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voting machines and software can be hacked,” he never alleges that Smartmatic actually suffered

a hack during the 2020 U.S. election in Los Angeles County or, for that matter, at any time in its

history. Overall, Mr. Lindell presents no concrete information to explain why Smartmatic would

have teamed up with Dominion to “silence” him. (See id. ¶ 20.) And he never identifies any “truth”

Smartmatic “desperate[ly]” needed to “cover up.” (Id. ¶ 21.) His entire tale is made up.

        No. 2: “Inextricable Intertwinement.” Seeking to paper over the holes in his first

plotline, Mr. Lindell introduces a second one, still aiming to link Smartmatic to Dominion. He

claims that Dominion and Smartmatic are so “inextricably intertwined” that the Court can deduce

“their coordinated actions at issue in this lawsuit.” (Id. ¶ 55.) To show this “intertwinement,” Mr.

Lindell relies on four aspects of the companies’ “corporate history” — each more specious than

the last. (Id. ¶¶ 17, 50.)

        First, Mr. Lindell alleges that Dominion and Smartmatic did business with each other over

a decade ago. (Id. ¶ 61.) Back “in 2009,” Smartmatic allegedly licensed scanners from Dominion

to scan ballots in an election Smartmatic helped administer in the Philippines. (Id. ¶¶ 61, 78.) That

is the sum total of Dominion’s and Smartmatic’s alleged prior business relationship. Mr. Lindell

does not identify any other transaction between Smartmatic and Dominion.

        Second, Mr. Lindell alleges that Dominion and Smartmatic have both held ownership

interests in Sequoia Voting Systems (“Sequoia”), a voting machine technology company

headquartered in the U.S. In or about 2005, Smartmatic obtained a majority interest in Sequoia.

(Id. ¶ 57.) Smartmatic sold the company back to its “U.S.-based management” in 2007. (Id. ¶ 58.)

Then, several years later, Dominion acquired Sequoia from those who had purchased it from

Smartmatic. (Id. ¶ 60.) None of this information is revelatory; it has all been in the public record,

and Mr. Lindell offers nothing new. While Mr. Lindell alleges “upon information and belief” that



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Smartmatic “eventually licensed” “software” to Dominion, he does not identify the “software,”

when Dominion used it, or anything about the purported licensing agreement. 6 (See id. ¶¶ 15, 60).

Nor does Mr. Lindell allege that Smartmatic holds any interest in Sequoia. And he certainly does

not allege that Smartmatic or Dominion own any part of each other. Rather, as he acknowledges,

Smartmatic and Dominion are separate corporations held by distinct ownership with principal

places of business in different locations. (Id. ¶¶ 24–31.) Dominion and Smartmatic are competitors,

not co-owners. (Id. ¶¶ 40, 50.)

       Third, Mr. Lindell alleges a “cross-pollination” of six “former Smartmatic employees” into

Dominion. Six people. Two of them left Smartmatic over a decade ago after it divested itself of

Sequoia. (Id. ¶ 62.) The Complaint draws no connection between either person and Mr. Lindell’s

claims against Smartmatic. The other four people the Complaint identifies have less relevance.

(Id.) Mr. Lindell alleges that they are “shown as employees of Dominion Voting Systems at

Smartmatic’s Boca Raton, Florida business address,” at least according to unspecified “public

internet searches.” (Id. ¶ 50.) But Mr. Lindell does not allege that these individuals, or anyone else,

work for both Smartmatic and Dominion. The companies do not share employees; Mr. Lindell

cannot in good faith allege otherwise.




6
  The sole “fact” Mr. Lindell cites to show that Dominion “licensed” software from Smartmatic is
a quotation about Sequoia that Mr. Lindell alters to say Smartmatic. (See Compl. ¶ 17 fn. 37 (citing
Dominion Voting Systems, Inc., State of Colorado Uniform Voting System Request for Proposal,
RFP # CDOS-UVS-2013-01, at 17–18 (Dec. 4, 2013) (“Cook County and the City of Chicago
selected Sequoia Voting Systems as their voting system vendor of choice and implemented a
blended pollsite based voting system, consisting of the Insight PCOS and the EDGE 2+ DRE, and
the HAAT (hybrid activator accumulator transmitter), which provides remote cellular transmission
of results to Election Central. Dominion continues to support and improve this system today.”),
available                                                                                         at
https://www.sos.state.co.us/pubs/elections/VotingSystems/RFI/proposals/DominionVotingSyste
msColoradoUVSProposal.pdf.

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       Finally, Mr. Lindell purports to link Smartmatic and Dominion through the Chinese

government. (See id. ¶¶ 65–67.) Who knows what Mr. Lindell aims to accomplish through these

allegations. On the one hand, he claims that Dominion received a capital investment from a

Chinese bank in 2020. (Id. ¶ 65.) On the other hand, Mr. Lindell alleges that Smartmatic “began

using” a Chinese company to test and certify “its voting machine hardware and software” in 2015.

(Id. ¶ 66.) From these allegations, he leapfrogs to the tinfoil-hat conclusion that “Chinese

government-related entities, Chinese technology companies, and powerful Chinese financial

interests had direct or indirect ownership of and near-total access to Dominion’s and Smartmatic’s

voting machine technology.” (Id. ¶ 67.) Even if these allegations were true (they are not), 7 they

have no relevance to Mr. Lindell’s claims. He does not allege that the Chinese government controls

Dominion and Smartmatic and directed them to wage “lawfare” against him. Mr. Lindell’s

allegations about China are nothing more than clickbait within his Complaint.

       Ultimately, Mr. Lindell relies on these historical “connections” because he cannot tie

Smartmatic back to his claims against Dominion and has no viable claim against Smartmatic itself.

The linchpin of his case against Smartmatic is its alleged “coordination” with Dominion to

“weaponiz[e] the court system and litigation process” against him. (Id. ¶ 166.) But he fails to allege

a single fact to show such coordination. He does not allege that Smartmatic played any role in the

litigation between himself and Dominion or in their pre-litigation communications. He does not

allege that Dominion had any involvement in Smartmatic’s filing of civil suits following the 2020

election. He does not allege that Smartmatic sued him or even interacted with him prior to his

lawsuit against Smartmatic. And he does not allege any communications or “coordinated action”



7
  Factual inaccuracies pervade Mr. Lindell’s Complaint, including regarding publicly verifiable
information.

                                                  8
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between Smartmatic and Dominion in the past decade regarding any topic, much less him. In short,

Mr. Lindell’s claims against Smartmatic do not stem from fact, but from fiction. His fable has no

place in this forum.

                                  PROCEDURAL HISTORY

       Mr. Lindell’s Complaint against Smartmatic should be treated as an amended pleading

filed in contravention of this Court’s Orders and Fed. R. Civ. P. 15. Mr. Lindell commenced this

action alleging RICO and conspiracy claims against Smartmatic over six months ago in the United

States District Court for the District of Minnesota. (See Case No. 21-cv-1332, ECF No. 1 (filed

June 3, 2021).) In August 2021, the suit was transferred to this Court. (Case No. 21-cv-2296.) The

Court thereafter ordered Smartmatic to respond to the Complaint by October 27, 2021, which

Smartmatic did.

       While Smartmatic was briefing its Motion to Dismiss, this Court stayed Mr. Lindell’s

claims against Dominion in Case No. 21-cv-2296 pending resolution of issues in this matter, Case

No. 21-cv-445. (See Minute Order, Case No. 21-cv-2296 (Oct. 18, 2021).) Mr. Lindell then filed

a Motion for Clarification of Stay Order, or in the Alternative, Motion for Extension of Time.

(ECF No. 82, Case No. 21-cv-2296 (Nov. 3, 2021).) He asked the Court to clarify whether he

needed to respond to Smartmatic’s Motion to Dismiss, or if the stay entered as to Dominion’s

claims also applied to Smartmatic. Mr. Lindell’s “position” was “that the entirety of this action

[Case No. 21-cv-2296] was stayed,” meaning he had no obligation to respond to Smartmatic’s

Motion to Dismiss. (Id. at 2.) In the alternative, Mr. Lindell requested additional time to respond.

       The Court addressed Mr. Lindell’s Motion for Clarification with two orders. On November

10, 2021, the Court denied Mr. Lindell’s motion to stay his briefing deadline and directed him to

respond to Smartmatic’s Motion to Dismiss “on or before December 1, 2021.” (Minute Order,

Case No. 21-cv-2296.) In that same Minute Order, the Court noted that it would “soon enter an
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order clarifying deadlines in some of the cases currently listed on the docket as related.” Id. Then,

on November 15, 2021, the Court ordered Mr. Lindell and My Pillow, Inc. to “coordinate and

refile their affirmative claims as counterclaims” in Case No. 21-cv-445 by December 2, 2021.

(ECF No. 84 ¶ 2, Case No. 21-cv-2296.) The Court further qualified: “Plaintiffs shall respond to

those counterclaims within 21 days of their filing[.]” (Id.) The “Plaintiffs” to which the Court

referred could only have been Dominion. Smartmatic was not a party to Case No. 21-cv-445 and

had not sued Mr. Lindell, so he could not “refile” any “counterclaims” against Smartmatic.

       Mr. Lindell circumvented these Orders and violated Fed. R. Civ. P. 15 in two respects.

First, he ignored the Court’s November 10, 2021 Order requiring him to respond to Smartmatic’s

Motion to Dismiss (ECF No. 81, Case No. 21-cv-2996) by December 1, 2021. Instead of filing his

response, Mr. Lindell repackaged his claims against Smartmatic as third-party claims in US

Dominion, Inc., et al. v. My Pillow, Inc., et al., Case No. 21-cv-445. (ECF No. 87.) Mr. Lindell

had no authority to add Smartmatic as a third-party defendant in this matter. The Court’s November

15, 2021 Order directed him to file his “counterclaims” in Case No. 21-cv-445. Nothing in that

Order granted Mr. Lindell leave to add third-party defendants or file third-party claims in Case

No. 21-cv-445. Mr. Lindell took advantage of the Order to dodge the briefing deadline the Court

had entered over his opposition in Case No. 21-cv-2296.

       Second, Mr. Lindell violated the Court’s November 15, 2021 Order and Fed. R. Civ. P. 15

by improperly amending his claims. (See Ex. A, Redline Comparison.) 8 At most, Mr. Lindell

received permission to “refile” his claims. (See ECF No. 84 ¶ 2, Case No. 21-cv-2296.) The Court



8
 The document comparison omits the case captions, ECF stamps, and material extraneous to Mr.
Lindell’s Complaint against Smartmatic to focus on his revisions to his allegations. See Standing
Order ¶ 8(b) (“Exhibits shall be properly edited to exclude irrelevant material and to direct the
Court’s attention to pertinent portions.”).

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never granted Mr. Lindell leave to amend his claims. There is a difference between “refiling” a

pleading and amending it. Under Rule 15(a)(1), a party may amend its pleading once, as a matter

of course, within “(A) 21 days after serving it, or (B) if the pleading is one to which a responsive

pleading is required, 21 days after service of a responsive pleading or 21 days after service of a

motion under Rule 12(b), (e), or (f), whichever is earlier.” All of these periods expired before Mr.

Lindell amended his claims. Consequently, under Rule 15(a)(2), Mr. Lindell could amend his

claims against Smartmatic “only with [its] written consent or the court’s leave.” Mr. Lindell

deprived Smartmatic of its right to consent to his amended pleading. He never requested it, and

Smartmatic never provided it. Nor did the Court grant him leave to amend. Just the opposite, the

Court ordered him to respond to Smartmatic’s motion to dismiss by December 1, 2021. Whatever

permission the Court gave Mr. Lindell on November 15, 2021, he abused it by amending his

allegations and claims against Smartmatic without consent or leave.

       In short, Mr. Lindell manipulated this Court’s Orders and Rule 15 to take a free shot at

amending his pleading. He tried to fix his old claims and concoct new ones, but he failed. They

are all defective and incurable. His Complaint should be dismissed with prejudice.

                                      LEGAL STANDARD

       To survive a Rule 12(b)(6) motion to dismiss, “a complaint must contain sufficient factual

matter, accepted as true, to state a claim for relief that is plausible on its face.” Atchison v. U.S.

Dist. Cts., 190 F. Supp. 3d 78, 93 (D.D.C. 2016) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009)). “A claim has facial plausibility when the plaintiff pleads factual content that allows the

court to draw the reasonable inference that the defendant is liable for the misconduct alleged.”

Iqbal, 556 U.S. at 662. “While the Court must ‘assume [the] veracity’ of any ‘well-pleaded factual

allegations’ in the complaint, conclusory allegations ‘are not entitled to the assumption of truth.’”

JSC Transmashholding v. Miller, 70 F. Supp. 3d 516, 521 (D.D.C. 2014). “Threadbare recitals of
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the elements of a cause of action, supported by mere conclusory statements” do not state a claim

and cannot survive a Rule 12(b)(6) motion. Iqbal, 556 U.S. at 678.

                                          ARGUMENT

I.     The Complaint fails to state a Support and Advocacy claim.

       A.      Mr. Lindell’s invocation of the Support and Advocacy Clause is
               unprecedented.

       Count IV of the Complaint alleges that Smartmatic harmed Mr. Lindell under 42 U.S.C.

§ 1985(3), which was “enacted during the Reconstruction Era under § 2 of the Civil Rights Act of

1871—the so-called Ku Klux Klan Act.” Cockrum v. Donald J. Trump for President, Inc., 365 F.

Supp. 3d 652, 660–61 (E.D. Va. 2019). The Ku Klux Klan Act was “[p]assed in response to Ku

Klux Klan anti-Reconstruction activity” and “provides for various civil rights remedies….” Bois

v. Marsh, 801 F.2d 462, 475 (D.C. Cir. 1986) (Wald, J., concurring). “When Congress enacted

§ 1985(3), its purpose was to combat the Klan’s efforts ‘to resist and to frustrate the intended

affects of the Thirteenth, Fourteenth, and Fifteenth Amendments.’” Cockrum, 365 F. Supp. 3d at

660–61.

       “Section 1985(3)’s conspiracy prohibition” — which Mr. Lindell invokes here — was “one

of several ways for victims to enforce the newly-passed Civil War Amendments.” Bois, 801 F.2d

at 475. The provision provides in full:

       If two or more persons in any State or Territory conspire or go in disguise on the
       highway or on the premises of another, for the purpose of depriving, either directly
       or indirectly, any person or class of persons of the equal protection of the laws, or
       of equal privileges and immunities under the laws; or for the purpose of preventing
       or hindering the constituted authorities of any State or Territory from giving or
       securing to all persons within such State or Territory the equal protection of the
       laws; or if two or more persons conspire to prevent by force, intimidation, or threat,
       any citizen who is lawfully entitled to vote, from giving his support or advocacy in
       a legal manner, toward or in favor of the election of any lawfully qualified person
       as an elector for President or Vice President, or as a Member of Congress of the
       United States; or to injure any citizen in person or property on account of such
       support or advocacy; in any case of conspiracy set forth in this section, if one or

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       more persons engaged therein do, or cause to be done, any act in furtherance of the
       object of such conspiracy, whereby another is injured in his person or property, or
       deprived of having and exercising any right or privilege of a citizen of the United
       States, the party so injured or deprived may have an action for the recovery of
       damages occasioned by such injury or deprivation, against any one or more of the
       conspirators.

Section 1985(3) is comprised of several clauses, but Mr. Lindell asserts violations of only one of

them: the “Support and Advocacy Clause,” as underlined above.

       Before addressing the deficiencies in his claim, however, we pause to consider the chutzpah

it took for Mr. Lindell to allege Count IV. He is asking the Court to grant him relief under law the

federal government passed to effectuate the Thirteenth, Fourteenth, and Fifteenth Amendments

after the Civil War. While Mr. Lindell fancies himself a martyr (Compl. ¶ 36), no public-interest,

egalitarian motive animates his case. He did not file suit “to safeguard voting rights” and strengthen

our democracy, as the law review article into which he leans urges. (See id. ¶ 165 (citing Note,

“The Support and Advocacy Clause of § 1985(3), HARVARD LAW REVIEW 133:1382, 1384–86

(2020)”). To the contrary, Mr. Lindell is using our courts as another platform to propagate his

“election fraud” theories and delegitimize our democratic institutions. (See Compl. ¶¶ 8, 12, 36,

110.) It is no wonder that Mr. Lindell’s Complaint resembles no suit that has stated a cause of

action under Section 1985(3). See, e.g., Griffin v. Breckenridge, 403 U.S. 88, 103 (1971)

(recognizing Section 1985(3) claim that alleged defendants “beat” plaintiffs with “deadly

weapons” and “block[ed]” their passage upon the highways “because of their race”).

       B.      Mr. Lindell fails to allege a conspiracy between Smartmatic and Dominion.

       “A plaintiff suing under § 1985(3) must allege” facts to establish a conspiracy. Graves v.

United States, 961 F. Supp. 314, 320 (D.D.C. 1997). The elements of a conspiracy “are (1) an

agreement between two or more persons; (2) to participate in an unlawful act, or a lawful act in an

unlawful manner; (3) an injury caused by an unlawful overt act performed by one of the parties to


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the agreement; (4) which overt act was done pursuant to and in furtherance of the common

scheme.” Burnett v. Sharma, 511 F. Supp. 2d 136, 143 (D.D.C. 2007). Importantly, “[c]onclusory

allegations of an agreement will not suffice.” Id. (dismissing Section 1985(3) claim because

plaintiff’s allegations “as to the existence of a conspiracy [were] conclusory at best”); accord Kurd

v. Republic of Turkey, No. 18-cv-1117, 2019 WL 1243731, at *19 (D.D.C. Mar. 18, 2019) (same,

because the plaintiffs “provide[d] no additional support for the existence of an agreement,” even

if the defendants allegedly “had the common goal” of “curtail[ing]” the plaintiffs’ First

Amendment rights); McCreary v. Heath, No. 04-cv-623, 2005 WL 3276257, at *5 (D.D.C. Sept.

26, 2005) (same, where “plaintiff repeatedly ma[de] the conclusory statement that a conspiracy

exists and surmise[d] that all” of his alleged injuries “occurred as a result of the conspiracy”);

Graves, 961 F. Supp. at 321 (same, where plaintiff failed to specify “any facts showing the

existence or establishment of an agreement”).

       “At the very least, the complaint must allege when or how such an agreement was

brokered….” De La Fuente v. DNC Servs. Corp., No. CV 18-cv-336, 2019 WL 1778948, at *9

(D.D.C. Apr. 23, 2019); see also McCreary, 2005 WL 3276257, at *5 (rejecting conspiracy claim

where the plaintiff’s “162–page complaint fail[ed] to allege the existence of any events,

conversations, or documents indicating that there was ever an agreement or ‘meeting of the minds’

between any of the defendants”); Bush v. Butler, 521 F.Supp.2d 63, 68–69 (D.D.C. 2007) (same,

where plaintiff’s allegation of an agreement “provide[d] no description of the [specific] persons

involved in the agreement, the nature of the agreement, [or] what particular acts were taken to

form the conspiracy”).

       Here, Mr. Lindell alleges that Dominion and Smartmatic formed a conspiracy “to silence

him” (Compl. ¶ 138), but he alleges no facts to show “when or how such an agreement was



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brokered.” De La Fuente, 2019 WL 1778948, at *9. Rather, Mr. Lindell asserts that Smartmatic,

Dominion, HPS, and Dominion’s counsel, Clare Locke LLP, “had a meeting of the minds to agree

on the common purpose of silencing speech, dissent, and opposition to the use of electronic voting

machines in the 2020 Presidential Election and the exposure of such machines’ vulnerability to

cyber-attacks and election tampering.” (Compl. ¶ 166.) But this allegation of an “agreement” is

nowhere close to sufficient. The Complaint “fails to allege the existence of any events,

conversations, or documents indicating that there was ever an agreement or ‘meeting of the minds’

between” Smartmatic and any other defendant. McCreary, 2005 WL 3276257, at *5. Nor does Mr.

Lindell describe “the [specific] persons involved in the agreement, the nature of the agreement,

[or] what particular acts were taken to form the [alleged] conspiracy” against him. Bush, 521

F.Supp.2d at 68–69.

       In this District, courts routinely dismiss conspiracy claims for failure to allege facts to

demonstrate an agreement. See De La Fuente, 2019 WL 1778948, at *9; Kurd, 2019 WL 1243731,

at *19; Bush, 521 F.Supp.2d at 68–69; Burnett, 511 F. Supp. 2d at 143; McCreary, 2005 WL

3276257, at *5. The same outcome should obtain here. Mr. Lindell’s “general allegation of

conspiracy is not sufficiently detailed to state a Section 1985 claim.” De La Fuente, 2019 WL

1778948, at *9; accord Bush, 521 F. Supp. 2d at 69 (holding that “Plaintiff has failed to plead

sufficient facts from which the Court could infer the existence of a conspiracy between the

defendants” because “[t]he mere repetition of a conclusory statement that a conspiracy exists and

that all the alleged events occurred as a result of a conspiracy are insufficient as a matter of law”);

Brady v. Livingood, 360 F. Supp. 2d 94, 104 (D.D.C. 2004) (“A plaintiff must set forth more than

just conclusory allegations of an agreement to sustain a claim of conspiracy against a motion to

dismiss.”). The Court should dismiss Count IV for failure to allege an agreement.



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        C.      Mr. Lindell fails to allege facts showing use of “force, intimidation, or threat”
                against him.

        The Support and Advocacy Clause makes unlawful not just any agreement, but a

conspiracy “to prevent by force, intimidation, or threat, any citizen…from giving his support or

advocacy in a legal manner…or to injure any citizen in person or property on account of such

support or advocacy….” Accordingly, “a necessary element of a claim under the advocacy and

voting provisions of section 1985(3)” is that the defendant’s alleged actions must “rise to the level

of ‘force, intimidation, or threat.’” Nat’l Conservative Pol. Action Comm. (NCPAC) v. Kennedy,

563 F. Supp. 622, 627 (D.D.C. 1983), aff’d, 729 F.2d 863 (D.C. Cir. 1984).

        This requirement emanates from the history and objective of the statute. “Viewed in the

light of its origin as a reaction against the murders, whippings, and beatings committed by rogues

in white sheets in the postbellum South, the Ku Klux Klan Act obviously meant to its framers,

when it spoke of ‘force, intimidation, or threat’ something much more serious and terrifying

than…economic injury.” Gill v. Farm Bureau Life Ins. Co. of Mo., 906 F.2d 1265, 1269 (8th Cir.

1990) (dismissing Section 1985(3) claim because “the victim ‘injured in his person or property’

was surely contemplated by Congressmen in 1871 as suffering something more severe than loss

of commissions” or the “cancellation of a contract”); Kennedy, 563 F. Supp. at 627 (same, because

“warnings” to broadcasters that they “could be held liable for defamatory statements” do not “rise

to the level of ‘force, intimidation, or threat’”).

        Indeed, the “central concern” of Section 1985(3) was “combatting the violent and other

efforts of the Klan and its allies to resist and to frustrate the intended affects of the Thirteenth,

Fourteenth, and Fifteenth Amendments.” Carpenters v. Scott, 463 U.S. 825, 837 (1983) (refusing

to construe § 1985(3) as “provid[ing] a remedy for every concerted effort by one political group

to nullify the influence or do other injury to a competing group by use of otherwise unlawful


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means”); accord id. at 839 (Blackmun, J., dissenting) (“The Ku Klux Klan Act was the

Reconstruction Congress’ response to politically motivated mob violence in the postbellum

South.”); Griffin, 403 U.S. at 103 (holding that “claims of detention, threats, and battery” run to

“the core of the coverage intended by Congress” through Section 1985(3)).

       In this case, “the lack of ‘force, intimidation, or threat’” of physical violence defeats Mr.

Lindell’s claim. Mr. Lindell does not allege that Smartmatic conspired to use violence or threats

of violence to “suppress [his] free speech and extort silence.” (Compl. ¶ 137.) Rather, he predicates

his Section 1985(3) claim on non-violent, purely economic means: “the litigation process,” which

Mr. Lindell coins “Smartmatic’s weapon of choice.” (Id.) While Mr. Lindell may construe

litigation as a “weapon,” Section 1985(3) does not. 9 See Kennedy, 563 F. Supp. at 625–27

(concluding that economic injury does not qualify as “force, intimidation, or threat”); Gill, 906

F.2d at 1269 (same). Count IV should be dismissed because the alleged conspiracy lacks the “force,

intimidation, or threat” that Section 1985(3) requires.

       D.      Mr. Lindell fails to allege facts showing a violation of an underlying federal
               right.

               1.      Section 1985(3) requires an underlying violation of federal law to give
                       rise to a conspiracy claim.

       “In order to plead a viable cause of action under 42 U.S.C. § 1985(3),” Mr. Lindell must

“allege an underlying violation of federal law.” Wiggins v. Philip Morris, Inc., 853 F. Supp. 458,

466–67 (D.D.C. 1994). Alleging a conspiracy under Section 1985(3), by itself, does not support a

claim because “Section 1985(3) provides no substantive rights itself; it merely provides a remedy

for violation of the rights it designates.” Great Am. Fed. Savings & Loan Ass’n v. Novotny, 442


9
  Mr. Lindell similarly bases his Section 1985(3) claim against Dominion on its use of “aggressive
litigation, threats of litigation, and publicization of these activities” and the attendant economic
injury he allegedly suffered. (Compl. ¶ 130; see also id. ¶¶ 136, 140.)

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U.S. 366, 372 (1979) (holding that Title VII cannot be a “basis for a cause of action under

§ 1985(3)”); accord Wiggins, 853 F. Supp. at 466 (“absent the violation of a substantive federal

right that prohibits purely private conduct there can be no cause of action under 42 U.S.C.

§ 1985(3)”); Kennedy, 563 F. Supp. at 626 (Section 1985(3) “provides a remedy, in the form of a

civil action for damages, for the deprivation of various federal rights. However, it does not create

any rights of itself.”).

        Here, the substantive federal right Mr. Lindell seeks to vindicate is his freedom of speech

under the First Amendment. He alleges that the “purpose of the conspiracy was to silence those

like [Plaintiff] who supported President Donald J. Trump and advocated for investigations into

voting machine fraud….” (Compl. ¶ 166.) He further claims that “[t]he First Amendment

guarantees the right of citizens such as Lindell to express political dissent and espouse beliefs….”

(Id. ¶ 7; see also id. ¶¶ 10, 135.) Accordingly, the viability of Mr. Lindell’s Section 1985(3) claim

hinges on whether he states a claim under the First Amendment.

                2.         Mr. Lindell’s Section 1985(3) claim fails because a First Amendment
                           violation requires state action, and he alleges none here.

        The absence of state action eliminates any possibility of a First Amendment violation and

forecloses Mr. Lindell’s Section 1985(3) claim. “[T]o trigger First Amendment protection, the

infringement upon speech must have arisen from state action of some kind.” Freedom Watch, Inc.

v. Google, Inc., 368 F. Supp. 3d 30, 40 (D.D.C. 2019) (dismissing First Amendment claim against

the defendants, “private businesses,” because “[i]t is axiomatic that the constitutional guarantee of

free speech is a guarantee only against abridgement by government, federal or state”). Throughout

our constitutional jurisprudence, “[t]he First Amendment has never been read to require private

parties to guarantee freedom of speech to other private parties.” The Pen v. DC Radio Assets, LLC,

181 F. Supp. 3d 49, 53 (D.D.C. 2014).


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        Mr. Lindell does not dispute that his Section 1985(3) claim requires state action. Instead,

he tries to satisfy this requirement by alleging that “[v]oting machine companies, including

Dominion and Smartmatic, are state actors….” (Compl. ¶¶ 6, 7, 54, 137–40.) To support this

contention, Mr. Lindell alleges that Smartmatic “administered, collected, counted, recorded, and

audited the ballot results for Los Angeles County, California.” (Id. ¶ 54.) Mr. Lindell infers from

these allegations that Los Angeles County “outsourced” its “Constitutional obligations” to

Smartmatic, even though the sources his cites refute his conclusion. 10

       Mr. Lindell’s allegations of state action are insufficient, as they ignore the criteria that

determine whether a person qualifies as a state actor. “[A]n entity can only be a ‘state actor’ if

‘there is a sufficiently close nexus between the State and the challenged action of the regulated

entity so that the action of the latter may fairly be treated as that of the State itself.” Freedom

Watch, 368 F. Supp. 3d at 40 (quoting Jackson v. Metro. Edison Co., 419 U.S. 345, 351 (1974)).

“In the typical case raising a state-action issue, a private party has taken the decisive step that

caused the harm to the plaintiff, and the question is whether the State was sufficiently involved to

treat that decisive conduct as state action.” NCAA v. Tarkanian, 488 U.S. 179, 192 (1988); see also

The Pen, 181 F. Supp. 3d at 53 (“[T]he test for when a private party becomes a governmental actor

looks at the extent to which the actor relies on governmental assistance and benefits, whether the




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   (See Compl. ¶ 54 fn. 83 (citing Saul Gonzalez, The Company Behind LA’s New Election
Infrastructure, KRCW (Oct. 5, 2018), available at https://www.kcrw.com/news/articles/the-
company-behind-las-new-election-infrastructure (“L.A. County’s Dean Logan said his office will
be in full control of new election hardware and software developed by Smartmatic, not the
company…. ‘[A]t the end of the day, once that equipment is built and the system exists, it will
belong to L.A. County,’ he said. ‘Smartmatic won’t be running our elections.’”); Voting Solutions
for All People, Smartmatic (last visited Dec. 3, 2021), available at
https://www.smartmatic.com/en/elections/e-voting/los-angeles-vsap-solution/ (“The machine
features a vote tally system, developed, owned and operated by the county.”).)

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actor is performing a traditional governmental function, and whether the injury caused is

aggravated in a unique way by the incidents of governmental authority.”).

       Mr. Lindell’s Section 1985(3) founders because no connection exists between the State and

the acts he attributes to Smartmatic and Dominion. Mr. Lindell bases his Complaint upon

Defendants’ alleged use of “the litigation process” against him (by Dominion) and against other

non-parties (by Smartmatic). But the Complaint fails to allege that the State participated in this

“litigation process.” Mr. Lindell does not allege any governmental role in Dominion’s or

Smartmatic’s filing of civil suits or issuance of cease-and-desist letters. (See Compl. ¶ 129.) Those

acts are the “decisive steps” Mr. Lindell alleges suppressed his expression of political speech. But

he cannot forge any nexus between them and the State, such that they “may fairly be treated as

that of the State itself.” Freedom Watch, 368 F. Supp. 3d at 40. No plausible argument can be

made that the State had any involvement, much less “sufficient[] involve[ment],” to render

Smartmatic’s and Dominion’s civil suits “state action.” Tarkanian, 488 U.S. at 192. Nor can

Dominion’s or Smartmatic’s pre-litigation demands be considered “incident[s] of governmental

authority.” The Pen, 181 F. Supp. 3d at 53. No state action is alleged.

       In brief, Mr. Lindell’s Section 1985(3) claim has no legal or factual basis. It should never

have been brought and should be dismissed.

II.    The Complaint fails to state a civil conspiracy claim.

       A.      Mr. Lindell’s civil conspiracy claim fails because the “conspiracy” is non-
               actionable.

       Count VII of the Complaint collapses on itself. Mr. Lindell alleges that Smartmatic is liable

in civil conspiracy with Dominion for “collu[ding] and agree[ing]” “to deprive [him] of his

constitutional rights under the First Amendment.” (Compl. ¶¶ 181, 183.) Such a conspiracy, of

course, is impossible without a governmental actor’s participation. See Woytowicz v. George


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Wash. Univ., 327 F. Supp. 3d 105, 120 (D.D.C. 2018) (“Courts in this Circuit have held that First…

Amendment violation claims require a showing of governmental action, and therefore a plaintiff

who alleges conspiracy to interfere with First…Amendment rights…must also sufficiently plead

that defendants were governmental actors.”); Brown v. Hill, 174 F. Supp. 3d 66, 74 (D.D.C. 2016)

(dismissing claim for conspiracy to violate plaintiff’s constitutional rights because the conspiracy

lacked a state actor, and “collusion between private entities is not state action”).

        The conspiracy in Count VII is non-actionable because it contains no governmental actors.

In his Complaint, Mr. Lindell admits that Dominion and Smartmatic are private corporations.

(Compl. ¶¶ 24–31.) They therefore are not governmental actors. See Anderson v. USAir, Inc., 818

F.2d 49, 56 (D.C. Cir. 1987) (“a private corporation[] is not a state actor”); Ardon v. Washington

Humane Soc’y, No. CIV. A.96-CV1902RMU, 1997 WL 527336, at *1 (D.D.C. Aug. 18, 1997)

(“The defendant is a federally created private corporation, and not a state actor, to whom

prohibitions of the Constitution apply.”).

        Mr. Lindell’s theory that Smartmatic and Dominion “act[ed] under color of state law and

as [] state actor[s]” does not save his claim. (Compl. ¶ 183.) A private corporation does not act

“under color of state law” or “as a state actor” when it files a civil lawsuit or sends a cease-and-

desist letter on its own behalf, to vindicate its own rights, against another private party. Neither of

those actions can be attributed to the State and thus considered “under color of state law.” See

deLeon v. Wilkie, No. CV 19-1250 (JEB), 2020 WL 210089, at *9 (D.D.C. Jan. 14, 2020) (“when

[a] private decision may in no way be attributed to a state rule or a state decision, the private parties

are not state actors”). Indeed, even governmental employees do not qualify as state actors when

they partake in private activities. See Kennedy, 563 F. Supp. at 626 (“It is not enough [under the

First Amendment] that the defendants be ‘federal officers.’ It is necessary that the actions



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complained of be committed by the defendants under color of the authority vested in them as

federal officers.”).

        Without any governmental action, a conspiracy to violate Mr. Lindell’s First Amendment

rights cannot form. Count VII is intrinsically flawed and should be dismissed.

        B.      Mr. Lindell’s civil conspiracy claim fails because he cannot allege a predicate
                claim.

        If the Court dismisses Mr. Lindell’s underlying claims, his civil conspiracy claim must be

dismissed as well. In the District of Columbia, “there is no recognized independent tort action for

civil conspiracy ....” Exec. Sandwich Shoppe, Inc. v. Carr Realty Corp., 749 A.2d 724, 738 (D.C.

2000). 11 Rather, “it is a means for establishing vicarious liability for the underlying tort.” Id. As a

result, “civil conspiracy depends on performance of some underlying tortious act.” Id. A “claim

for civil conspiracy thus fails unless the elements of the underlying tort are satisfied.” Nader v.

Democratic Nat. Comm., 567 F.3d 692, 697 (D.C. Cir. 2009) (“With the last of the common-law

claims dismissed, the plaintiffs’ conspiracy claim has no predicate; therefore, the court must

dismiss it as well.”); accord del Canto v. ITT Sheraton Corp., 865 F. Supp. 927, 934 (D.D.C. 1994)

(same). Accordingly, if the Court dismisses Mr. Lindell’s underlying claims against Smartmatic

and Dominion, his civil conspiracy claim must also fail.




11
   Smartmatic applies D.C. law to Count VII because it alleges a violation “of [Mr. Lindell’s]
constitutional rights under the First Amendment….” (Compl. ¶ 181.) If Mr. Lindell applies
Minnesota law to his claim, the outcome will be the same. No substantive difference exists between
D.C. law and Minnesota law regarding civil conspiracy. See Harding v. Ohio Cas. Ins. Co. of
Hamilton, Ohio, 230 Minn. 327, 337 (1950) (stating that the elements of a civil-conspiracy claim
are (1) a combination of two or more people (2) to commit an unlawful act or a lawful act by
unlawful means). Minnesota, like D.C., requires the existence of an agreement. Alliance Bank v.
Dykes, No. A12-0455, 2012 WL 6734457, at *11 (Minn. Ct. App. Dec. 31, 2012). Minnesota also
recognizes that civil conspiracy is not an independent cause of action. D.A.B. v. Brown, 570
N.W.2d 168, 172 (Minn. Ct. App. 1997).

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        C.      Mr. Lindell’s civil conspiracy claim fails because the Complaint insufficiently
                alleges a conspiracy between Smartmatic and Dominion.

        Mr. Lindell has failed to plead facts showing that Smartmatic and Dominion conspired

against him. First, the Complaint does not allege facts to establish the existence of an agreement.

In Section I(B) of this Argument, Smartmatic identified deficiencies in Mr. Lindell’s allegations

of a conspiratorial agreement, as they bear on his Section 1985(3) claim. All of those deficiencies

apply equally to his civil conspiracy claim. For both claims, Mr. Lindell relies on conclusory

statements that Dominion and Smartmatic “had a meeting of the minds” to “silenc[e] [his] dissent”

and “depriv[e] [him] of his constitutional rights under the First Amendment.” (See Compl. ¶¶ 166,

181.) But he provides no specific facts regarding how or when Smartmatic and Dominion brokered

this alleged agreement. Mr. Lindell’s “formulaic recitation” of an agreement is insufficient. See

Ning Ye v. Holder, 644 F. Supp. 2d 112, 119 (D.D.C. 2009) (dismissing civil conspiracy claim

because “Plaintiff ma[de] only the conclusory allegation that [defendants] were ‘acting apparently

in an unwritten agreement, meeting of minds, to commit [ ] serious civil rights offense[s]”); Karim-

Panahi v. 4000 Mass. Apartments, 302 F. Supp. 3d 330, 338 (D.D.C. 2018) (“[C]ourts in this

Circuit have repeatedly held that [t]he mere repetition of a conclusory statement that a conspiracy

exists and that all the alleged events occurred as a result of a conspiracy are insufficient as a matter

of law.”). 12

        Second, Lindell must also show that the agreement was formed “to participate” either in

(a) “an unlawful act,” or (b) “a lawful act in an unlawful manner.” See Burnett, 511 F. Supp. 2d at


12
   Accord Occhino v. Lannon, 150 F.R.D. 613, 623 (D. Minn. 1993), aff’d, 19 F.3d 23 (8th Cir.
1994) (“Allegations of a conspiracy, absent supporting facts, do not establish a claim upon which
relief may be granted.”); Dunbar v. Wells Fargo Bank, N.A., 853 F. Supp. 2d 839, 849 (D. Minn.
2012), as amended (Apr. 12, 2012), aff’d, 709 F.3d 1254 (8th Cir. 2013) (dismissing claim for
civil conspiracy where plaintiff asserted only conclusory allegations and the court had no facts to
infer the existence of an agreement).

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143. Neither type of act is alleged here. The three activities that give rise to the Complaint are all

incontrovertibly lawful: (1) Dominion’s service of cease-and-desist letters; (2) Dominion’s filing

of civil complaints, including against Mr. Lindell; and (3) Smartmatic’s filing of civil complaints.

None of these acts violates any law. Countless persons do them every day.

       Likewise, the Complaint fails to allege when or how Smartmatic and Dominion agreed to

participate in “a lawful act in an unlawful manner.” See Lee v. Bradford, No. CIVA 05-01450

HHK, 2006 WL 2520614, at *2 (D.D.C. Aug. 30, 2006) (The “complaint fails to allege any

agreement whatsoever between [the] defendants, much less an agreement to participate in an

unlawful act, or in a lawful act in an unlawful manner.”). Even if Dominion could be viewed as

acting in an “unlawful manner” toward Mr. Lindell, he alleges no facts to support an inference that

Smartmatic agreed for or helped Dominion to do so. There is no allegation that Smartmatic agreed

to have Dominion: file suit against Mr. Lindell (Compl. ¶ 183(a)); “defam[e]” him (id. ¶183(b));

“extort [him]” (id. ¶ 183(c)); or engage in any other conduct toward him. All of these alleged

conspiracies are inadequately alleged. See Johnson v. United States, 590 F. Supp. 2d 101, 107

(D.D.C. 2008) (dismissing conspiracy claims that “allege[d] various conspiracies without

specifying the factual bases for the allegations, rendering the defendants unable to prepare a proper

defense to these claims”). For all of these reasons, Count VII must be dismissed.

III.   The Complaint fails to state a Section 1983 claim.

       In Counts V and VI, Mr. Lindell alleges that Smartmatic is liable under 42 U.S.C. § 1983

for violating his First, Fifth, and Fourteenth Amendment rights. (Compl. ¶¶ 169–79.) See Elkins v.

D.C., 690 F.3d 554, 564 (D.C. Cir. 2012) (Section 1983 “provides a remedy in damages to those

deprived of ‘any rights, privileges, or immunities secured by the Constitution and laws’ by persons

acting under color of state law or the law of the District of Columbia.”). Mr. Lindell’s Section

1983 claims are frivolous for several reasons.
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       First, the Complaint does not allege any interaction between Mr. Lindell and Smartmatic.

It is black-letter law that “[o]nly those who cause a violation of a right secured by the Constitution

are liable.” Id. Even after reworking his pleading, Mr. Lindell still cannot allege any contact he

has had with Smartmatic. Until this case, Mr. Lindell and Smartmatic had never been parties to

the same litigation or had any communication with one another. Mr. Lindell has no colorable basis

to allege that Smartmatic did anything to him, never mind deprive him of his constitutional rights.

See id. at 566 (affirming dismissal of § 1983 claim against official who “was not involved” in

“decision to seize documents or…seek a search warrant” that ostensibly violated the Constitution);

cf. Iqbal, 556 U.S. at 676 (A § 1983 “plaintiff must plead that each Government-official defendant,

through the official’s own individual actions, has violated the Constitution.”).

       Second, Mr. Lindell’s Section 1983 claims erroneously assume that Smartmatic is a state

actor. Mr. Lindell bases this assumption on one contract through which Smartmatic provided

voting technology to Los Angeles County in the 2020 U.S. election. But one public contract does

not make a person a state actor for all purposes for all of time. See Manhattan Cmty. Access Corp.

v. Halleck, 139 S. Ct. 1921, 1932 (2019) (“If [a government contract] sufficed to transform a

private entity into a state actor, a large swath of private entities in America would suddenly

be…subject to a variety of constitutional constraints on their activities. As this Court’s many state-

action cases amply demonstrate, that is not the law.”); Am. Mfrs. Mut. Ins. Co. v. Sullivan, 526

U.S. 40, 50 (1999) (“[T]he under-color-of-state-law element of § 1983 excludes from its reach

merely private conduct, no matter how discriminatory or wrongful.”).

       Third, there is no nexus between the electoral services Smartmatic provided in Los Angeles

County and any alleged deprivation of Mr. Lindell’s constitutional rights. See Section I(D)(2),

supra (explaining that Smartmatic’s actions are not fairly attributable to Los Angeles County).



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Courts in this Circuit reject § 1983 claims predicated on conduct unrelated to the State or its

authority. See Nader v. McAuliffe, 593 F. Supp. 2d 95, 102 n.5 (D.D.C. 2009) (dismissing § 1983

claims notwithstanding whether elections are exclusively public functions because “the allegedly

unconstitutional conduct here consisted of filing” ballot eligibility challenges “rather than actually

conducting or regulating an election”); Williams v. United States, 396 F.3d 412, 415 (D.C. Cir.

2005) (affirming dismissal of § 1983 claim where federal officer’s “arrest of [plaintiff] cannot be

fairly treated as that of the District of Columbia, and thus cannot be called D.C. action”); Bates v.

Nw. Human Servs., Inc., 583 F. Supp. 2d 138, 145 (D.D.C. 2008) (dismissing § 1983 claim for

lack of state action and noting that “whether an act is fairly attributable to the state should be based

upon the challenged action and the specific conduct of which the plaintiff complains rather than

the defendant’s general status”). Any of these deficiencies warrants dismissal of Mr. Lindell’s

Section 1983 claims.

IV.    The Complaint fails to state a RICO claim.

       “Congress enacted the RICO statute, 18 U.S.C. §§ 1961–1968, as Title IX of the Organized

Crime Control Act of 1970…to combat criminal organizations at large in the American

commercial republic.” Danielsen v. Burnside-Ott Aviation Training Ctr., Inc., 941 F.2d 1220,

1224 (D.C. Cir. 1991) (noting that RICO “was designed specifically to remove the tentacles of

organized crime from legitimate business”). RICO aims to achieve this objective through its

“principal operative section,” 18 U.S.C. § 1962, which “creates four new federal crimes.” Id. At

issue here is the crime under Section 1962(c), which provides, in pertinent part: “It shall be

unlawful for any person employed by or associated with any enterprise ... to conduct or participate,

directly or indirectly, in the conduct of such enterprise’s affairs, through a pattern of racketeering

activity....” RICO also creates a private right of action for a person who is ‘injured in his business



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or property by reason of a violation of section 1962.” See 18 U.S.C. § 1964(c); (Compl. ¶ 153

(claiming that Mr. Lindell “is entitled to recover under” Section 1964).)

       To state a violation of Section 1962, a plaintiff must plausibly “allege four elements:

(1) conduct (2) of an enterprise (3) through a pattern (4) of racketeering activity.” Brink v. Cont’l

Ins. Co., 787 F.3d 1120, 1127 (D.C. Cir. 2015); accord Ambellu v. Re’ese Adbarat Debre Selam

Kidist Mariam, 406 F. Supp. 3d 72, 83 (D.D.C. 2019) (citing Limestone Dev. Corp v. Vill. of

Lemont, Ill., 520 F.3d 797, 803 (7th Cir. 2008) (Posner, J.) (applying Twombly pleading standard

to a RICO claim, as a “defendant should not be forced to undergo costly discovery [inherent in

RICO cases] unless the complaint contains enough detail, factual or argumentative, to indicate that

the plaintiff has a substantial case”). In this case, Count III must be dismissed because Mr. Lindell

does not plausibly allege any aspect of a RICO claim.

       A.      Mr. Lindell fails to allege any racketeering activity.

       The Complaint fails to identify an activity by Smartmatic or Dominion that qualifies as a

predicate “racketeering” act. Mr. Lindell alleges that Defendants have “engaged in numerous

related acts of racketeering activity that amount to or pose a threat of continued criminal activity.”

(Compl. ¶ 158.) “Specifically,” he points to the fact that: (1) Smartmatic has filed defamation

lawsuits against certain non-parties; (2) Dominion sent “cease and desist” letters to various

individuals and organizations; and (3) Dominion filed lawsuits alleging defamation against Mr.

Lindell and others. (Id. ¶¶ 125–38, 158, 160.) Mr. Lindell alleges that these actions “threaten the

recipients with ruinous litigation” and therefore “constitute extortion, witness tampering, witness

intimidation, and mail fraud for purposes of establishing the requisite ‘predicate acts’ for a civil

RICO claim.” (Id. ¶ 158.) The Complaint fails to demonstrate any of these crimes.




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               1.      Mr. Lindell fails to establish extortion.

       The litigation activities Mr. Lindell describes are not “extortion.” Compare (Compl. ¶ 158),

with E. Sav. Bank, FSB v. Papageorge, 31 F. Supp. 3d 1, 13 (D.D.C. 2014) (Howell, J.) (dismissing

RICO claim based upon “defendants’ litigation strategies” because “recognizing litigation as a

form of extortion would transform[] a state common-law action into a federal crime”);

FindTheBest.com, Inc. v. Lumen View Tech. LLC, 20 F. Supp. 3d 451, 457 (S.D.N.Y. 2014) (“The

courts of appeals which have addressed the question have all agreed that the instigation of

meritless litigation does not establish the predicate RICO act of extortion.”); see also Raney v.

Allstate Ins. Co., 370 F.3d 1086, 1087–88 (11th Cir. 2004) (holding that the “alleged conspiracy

to extort money through the filing of malicious lawsuits” lacked RICO predicates); Deck v.

Engineered Laminates, 349 F.3d 1253, 1258 (10th Cir. 2003) (holding that meritless litigation is

not a predicate act of extortion under RICO); U.S. v. Pendergraft, 297 F.3d 1198, 1208 (11th Cir.

2002) (dismissing RICO claim because “prosecuting litigation activities as federal crimes would

undermine the policies of access and finality that animate our legal system”); Vemco, Inc. v.

Camardella, 23 F.3d 129, 134 (6th Cir. 1994) (dismissing RICO count and noting that “[a] threat

of litigation if a party fails to fulfill even a fraudulent contract, moreover, does not constitute

extortion”).

       Mr. Lindell’s allegation that cease-and-desist letters “constitute extortion” ignores what

that crime requires. (See Compl. ¶ 158.) First, extortion requires the “wrongful use of actual or

threatened force, violence or fear.” 18 U.S.C. § 1951(b)(2). Dominion’s issuance of “cease and

desist” letters do not qualify as “the wrongful use of actual or threatened force, violence or fear.”

See I.S. Joseph Co. v. J. Lauritzen A/S, 751 F.2d 265, 267 (8th Cir. 1984) (holding that threatening

to file a lawsuit does not constitute force, violence or fear under §1951); S. Snow Mfg. Co. v.

Snowizard Holdings, Inc., 912 F. Supp. 2d 404, 423 (E.D. La. 2012) (dismissing RICO claim
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because sending cease and desist letters “clearly do[es] not constitute extortion under federal or

state law”). It is difficult to imagine the chaos that would unfold if potential civil plaintiffs could

face RICO claims, or be criminally prosecuted, every time they sent cease and desist letters to

potential civil defendants. See Curtis & Assocs., P.C. v. L. Offs. of David M. Bushman, Esq., 758

F. Supp. 2d 153, 176 (E.D.N.Y. 2010) (dismissing civil RICO claims and reasoning that permitting

such claims on legal positions taken by litigation adversaries “would result in the inundation of

federal courts with civil RICO actions that could potentially subsume all other state and federal

litigation in an endless cycle where any victorious litigant immediately sues opponents for RICO

violations”); FindTheBest.com, 20 F. Supp. 3d at 457 (explaining the “sound policy reasons” that

militate “against recognizing the instigation of meritless litigation as a RICO predicate act”).

       Second, extortion requires “the obtaining of property from another, with his consent.”

18 U.S.C. § 1951(b)(2). To “obtain” property means to acquire it. Scheidler v. Nat’l Org. for

Women, Inc., 537 U.S. 393, 404 (2003). “[T]he property extorted must therefore be transferable”

and “capable of passing from one person to another.” Sekhar v. United States, 570 U.S. 729, 734

(2013) (emphasis in original). The extortion defendant “must pursue something of value from the

victim that can be exercised, transferred, or sold.” Id. at 736. It is equally important that the

property be transferred with the alleged victim’s consent. “Consent” signifies “the taking of

property under circumstances falling short of robbery.” See Ocasio v. United States, 578 U.S. 282,

136 S.Ct. 1423, 1435 (2016); see also United States v. Int’l Longshoremen’s Ass’n, 518 F. Supp.

2d 422, 483 (E.D.N.Y. 2007) (finding predicate act of extortion insufficiently alleged, while noting

that “the Government cite[d] no authority for the proposition that extortion…may be pleaded

without…indicating that some use or threat of force, however indirect, was used to compel [the

victims’] consent to part with property”) (emphasis in original); Gentile v. Brunswick Cnty.



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Sheriff’s Dep’t, 2014 WL 1331159, at *18 (E.D.N.C. Apr. 2, 2014) (same, where the plaintiffs

“failed to allege any conduct that could plausibly be interpreted extortionate—that defendants

attempted to obtain property from [p]laintiffs with [p]laintiffs’ consent”).

       The Complaint fails to allege any property that Dominion or Smartmatic obtained from Mr.

Lindell with his consent. The Complaint alleges that the purpose of Dominion’s cease and desist

letters was to “ensure that everyone . . . knows they will be punished if they speak against

Dominion, and anyone could be the next victim of a Dominion billion-dollar-lawsuit.” (Compl. ¶

133.) But the Complaint does not allege that Mr. Lindell, or anyone else, transferred property to

Dominion or Smartmatic. And, the Complaint does not allege that Mr. Lindell, or anyone else,

transferred property to Dominion or Smartmatic with his/her consent. These deficiencies doom

Mr. Lindell’s attempt to predicate his RICO claim on the federal crime of extortion.

               2.      Mr. Lindell fails to establish witness tampering or intimidation.

       Mr. Lindell’s new witness tampering accusations do not save his RICO claim. Although

his original complaint alleged only extortion, he now asserts that Dominion (not Smartmatic)

violated 18 U.S.C. § 1512 by sending cease-and-desist letters to “[m]ore than a few individuals in

Pennsylvania.” (Compl. ¶ 19.) Mr. Lindell alleges that the letters deterred those individuals from

“participat[ing]” in the Pennsylvania state Senate’s “forensic audit of recent elections” by

“threaten[ing] ruinous litigation” if they “spoke publicly about what they witnessed.” (Id.) To be

sure, the Complaint does not say who those individuals are, whether any of them are part of the

audit, what they allegedly “witnessed,” how their personal knowledge bears on the audit, or how

Dominion “threatened” their “participation.”

       Regardless, even if Mr. Lindell’s vague allegations were true, they do not show

racketeering. First, as another court in this District as held, “[a]busive or sham litigation does not

constitute” witness tampering under § 1512 or any other “RICO predicate act.” See E. Sav. Bank,
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31 F. Supp. 3d at 13 (rejecting alleged § 1512 violation—which was based on “obstructive,

abusive, and fraudulent tactics in connection with the multiple suits between the parties”—as a

predicate RICO act because the plaintiffs did “not allege[] that that any defendant killed,

threatened, corruptly persuaded, intimidated, or intentionally harassed a witness”); accord G-I

Holdings, Inc. v. Baron & Budd, 179 F. Supp. 2d 233, 266 (S.D.N.Y. 2001) (noting that courts

have “rejected claims that threats of future litigation, or the initiation of actual litigation, constitute

witness tampering…because such litigation is not ‘force, intimidation or threat,’ and to hold

otherwise would chill the right of private parties to petition the government”).

        Second, Mr. Lindell “cannot establish the requisite causation between” any alleged witness

tampering and his “asserted injur[ies].” E. Sav. Bank, 31 F. Supp. 3d at 12. “The plaintiff in a civil

RICO suit must…show that a RICO predicate offense not only was a ‘but for’ cause of his injury,

but was the proximate cause as well.” Id. at 11–12 (citing Hemi Grp., LLC v. City of New York,

559 U.S. 1, 10–11 (2010)). “Where the set of actions alleged to have caused the harm to the

plaintiff” are “entirely distinct from the alleged RICO violation,” the Supreme “Court [has] held

that the injury [is] too attenuated to state a RICO claim.” Id. at 15. And that is the case here. Mr.

Lindell fails to allege any connection between his injuries and even one instance of Dominion’s

purported witness tampering, let alone but-for or proximate causation. Mr. Lindell’s newfound

reliance on Section 1512 does not fix his deficient RICO claim. See id. (dismissing RICO claim

where the plaintiff’s alleged damages were “wholly removed from the alleged predicate acts” of

extortion and witness tampering); see also Robertson v. Cartinhour, 867 F. Supp. 2d 37, 55

(D.D.C. 2012) (same, because plaintiff “lack[ed] standing to bring any of [his] RICO claims since

he has not been injured by the conduct constituting the [RICO] violation”); Fiorani v. Chrysler

Grp., LLC, No. 113CV346AJTIDD, 2014 WL 12527186, at *3 (E.D. Va. Jan. 30, 2014) (same,



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where plaintiff failed to “plausibly allege[]that he was injured in his business or property by virtue

of the” predicate act).

       Third, Mr. Lindell cannot show a Section 1512 violation because the “proceeding” Mr.

Lindell identifies—the Pennsylvania Senate ballot audit (Compl. ¶ 19)—is state, not federal. “The

reach of the witness tampering statute, 18 U.S.C. § 1512, is limited to tampering that affects an

official federal proceeding or investigation.” Shahin v. Darling, 606 F. Supp. 2d 525, 537 (D. Del.

2009) (dismissing RICO claim “because all acts as alleged by plaintiff took place in state court

proceedings,” so “the alleged conduct would not be indictable under § 1512 and, therefore,” not

qualify as “predicate acts”), aff’d, 350 F. App’x 605 (3d Cir. 2009); Turner v. N.J. State Police,

No. CV085163KMJBC, 2017 WL 1190917, at *29 (D.N.J. Mar. 29, 2017) (rejecting plaintiff’s

reliance on § 1512 to demonstrate a predicate act because that statute “ha[s] a federal-nexus

requirement” and does not apply to alleged obstruction, tampering, or interference “with a State

proceeding”); Chow v. Johnson, No. C-07-4478 CW, 2008 WL 11396738, at *5–*6 (N.D. Cal.

Feb. 5, 2008) (same, where “there [was] not even a suggestion of a potential federal investigation

in which Plaintiffs were prevented from participating,” and “Plaintiffs [did] not cite and the Court

[was] not aware of any case in which the witness tampering provision was applied to a situation in

which there was no potential for a federal investigation”). Mr. Lindell’s allegations of “witness

tampering” do not satisfy the racketeering requirement of his claim.

               3.         Mr. Lindell fails to establish mail fraud.

       Mr. Lindell’s mail fraud allegation is the type of conclusory smear Rule 9(b) is designed

to eliminate. “It is well-settled in this and other Circuits that” where acts of mail fraud “constitute

the alleged predicate racketeering [activity], these acts are subject to the heightened pleading

requirement of [Federal Rule of Civil Procedure] 9(b).” Bates v. Nw. Hum. Servs., Inc., 466 F.

Supp. 2d 69, 88 (D.D.C. 2006) [hereinafter Bates I]. “Rule 9(b) is designed, in part, to allow a
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District Court to distinguish valid from invalid claims...and to terminate needless litigation early

in the proceedings….” Id. “Plaintiffs alleging mail and wire fraud must satisfy two essential

elements: (1) a scheme to defraud; and (2) use of the mails or wires for the purpose of executing

the scheme.” Id. at 89. In satisfying these elements, a plaintiff must “state the time, place and

content of the false misrepresentations, the fact misrepresented[,] and what was retained or given

up as a consequence of the fraud.” Id. “Courts have been particularly sensitive to [Rule 9(b)’s]

pleading requirements in RICO cases in which the ‘predicate acts’ are mail fraud…and have

further required specific allegations as to which defendant caused what to be mailed...and when

and how each mailing...furthered the fraudulent scheme.” Id.

       Mr. Lindell satisfies none of these requirements. His Complaint identifies no scheme to

defraud. See E. Sav. Bank, 31 F. Supp. 3d at 14 (rejecting RICO claim predicating mail fraud on a

demand letter because the plaintiff did “not state[], nor even impl[y], that the claims made in the

letters…were untrue or how those letters me[t] the standard for mail fraud”). Instead, Mr. Lindell

alleges that Dominion sent cease-and-desist letters requesting that recipients preserve documents.

(See Compl. ¶¶ 128, 132.) Mr. Lindell has samples of letters, including ones he received, but still

fails to identify any misrepresentations within them. Nor does he allege that he or anyone else was

“deceived by [Dominion’s] alleged misrepresentations made through the mail.” See Bates I, 466

F. Supp. 2d at 88 (dismissing RICO claim predicated on alleged mail fraud because the plaintiffs’

allegations were “plainly deficient under Rule 9(b)” for failure to plead mail fraud with

particularity); Ambellu v. Re’ese Adbarat Debre Selam Kidist Mariam, 387 F. Supp. 3d 71, 82

(D.D.C. 2019) (same, because plaintiff’s “allegations fail to identify any fraud, much less state

fraud with particularity”). Mr. Lindell threw mail fraud into his Complaint without having any

basis for doing so. His RICO claim should be dismissed for lack of a predicate act.



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        B.      Mr. Lindell fails to allege facts showing that Smartmatic “conducted or
                participated” in the alleged enterprise.

        Mr. Lindell’s RICO claim should be dismissed because the Complaint cannot satisfy the

“conduct” requirement under Section 1962(c). In Reves v. Ernst & Young, 507 U.S. 170, 185

(1993), the Supreme Court “held that this element of § 1962(c) requires the defendant to ‘have

some part in directing [the enterprise’s] affairs’ by ‘participat[ing] in the operation or management

of the enterprise itself.” See Harpole Architects, P.C. v. Barlow, 668 F. Supp. 2d 68, 75 (D.D.C.

2009) (dismissing RICO claim because plaintiffs provided no “further factual enhancement to

support their naked allegation that [defendant] played a part in directing [the enterprise’s] affairs”);

Elemary v. Philipp Holzmann A.G., 533 F. Supp. 2d 116, 140 (D.D.C. 2008) (same, where the

plaintiff “offer[ed] no facts linking [the defendant’s alleged] conduct to [the alleged enterprise’s]

operation or management”); accord Goren v. New Vision Int’l, Inc., 156 F.3d 721, 727 (7th Cir.

1998) (same, because the complaint did “not contain any factual allegations that would lead to the

conclusion that any of these defendants were involved in directing the affairs of…the alleged

enterprise” in accordance with Reves).

        In this case, the Complaint fails to plead any facts to show that Smartmatic “played a part

in directing” the alleged enterprise’s “affairs.” Harpole Architects, 668 F. Supp. 2d at 75. Whatever

the purported enterprise may be, the Complaint is silent regarding Smartmatic’s role in directing

it. See Elemary, 533 F. Supp. 2d at 140 (dismissing RICO claim where plaintiff “offer[ed] no

discernible link between [the defendant’s] alleged threats and his role in operating and managing”

the alleged enterprise). The sole activity Mr. Lindell attributes to Smartmatic is its filing of civil

complaints against certain non-parties. (See Compl. ¶ 137.) That activity is insufficient because it

merely shows that Smartmatic was conducting its own affairs. See Gross v. Waywell, 628 F. Supp.

2d 475, 498 (S.D.N.Y. 2009) (dismissing civil RICO claim where “[p]laintiffs’ factual allegations


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demonstrate that the [defendants] were participating in or conducting their own affairs rather than

the affairs of an illegal enterprise”) (emphasis in original); Bates I, 466 F. Supp. 2d at 86 (same,

because a RICO complaint must provide sufficient detail “to determine whether any of the

defendants were conducting something other than their own, usual business activities in the course

of perpetrating the alleged” crime).

       And, even if Smartmatic’s suit contributed to the purported “collective enterprise” (Compl.

¶ 137), the Complaint sheds no light on any “directive role” Smartmatic assumed within the

enterprise. Cf. Grant Thornton, LLP v. Off. of Comptroller of the Currency, 514 F.3d 1328, 1333

(D.C. Cir. 2008) (applying Reves to vacate an administrate order because the defendant played an

insufficient “directive role in [the enterprise-equivalent’s] affairs”). Nor can Mr. Lindell allege any

directive role: he cannot plausibly plead that Smartmatic directed Dominion’s litigation decisions

against him or anyone else in any way. Because Mr. cannot satisfy the “conduct” requirement, his

RICO claim must be dismissed.

       C.      Mr. Lindell fails to allege a RICO enterprise.

       The enterprise Mr. Lindell concocts is deficiently pled. A RICO enterprise is defined as

“individual, partnership, corporation, association, or other legal entity, and any union or group of

individuals associated in fact although not a legal entity.” 18 U.S.C. § 1961(4). According to the

Complaint, Dominion and Smartmatic formed an association-in-fact enterprise, to which Mr.

Lindell refers as either the “Dominion Enterprise” or the “Dominion/Smartmatic Enterprise.”

(Compl. ¶¶ 155–61.) An association-in-fact enterprise is demonstrated by “evidence of an ongoing

organization, formal or informal, and by evidence that the various associates function as a

continuing unit.” Boyle v. United States, 556 U.S. 938, 944–45 (2009). To plead an association-

in-fact enterprise, a plaintiff must allege facts to demonstrate “three structural features”: (1) a

“purpose”; (2) “relationships among those associated with the enterprise”; and (3) “longevity
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sufficient to permit these associates to pursue the enterprise’s purpose.” United States v. Eiland,

738 F.3d 338, 360 (D.C. Cir. 2013) (applying the Boyle test in a criminal RICO action); see also

Stankevich v. Kaplan, 156 F. Supp. 3d 86, 94 (D.D.C. 2016) (referring to the touchstones of an

association-in-fact enterprise as “(1) a common purpose among the participants, (2) organization,

and (3) continuity”).

        Critically, “[i]t is not enough for a group of individuals to commit [predicate acts]; plaintiff

must assert that those individuals were organized together in some way, and that there was a

structure to the association.” Id. While “the very concept of an association in fact is expansive,”

the requisite structural features “make pleading an association-in-fact enterprise more

challenging.” Cisneros v. Petland, Inc., 972 F.3d 1204, 1211 (11th Cir. 2020); accord Stankevich,

156 F. Supp. 3d at 94 (“[T]o successfully state a claim under RICO, a plaintiff must plead facts

identifying the common purpose and organizational and decisionmaking structure of the alleged

enterprise.”).

        In this case, each structural feature is deficiently pled. Mr. Lindell pays lip service to the

common purpose, relationship, and longevity requirements. (See Compl. ¶¶ 155–56.) His

Complaint offers no facts to demonstrate any of them, and the facts he does allege belie any notion

that Smartmatic and Dominion formed an enterprise.

                 1.     The “common purpose” requirement of an association-in-fact
                        enterprise is not met.

        Nothing in the Complaint shows that Dominion and Smartmatic shared a common purpose.

To survive dismissal, a RICO claim must allege facts that support “a plausible inference that the

defendants worked together for the same unlawful purpose.” Sheikh v. Wheeler, 790 Fed. Appx.

793, 796 (7th Cir. 2019); see also Cisneros, 972 F.3d at 1211 (“The purpose prong contemplates

a common purpose of engaging in a…particular criminal course of conduct.”); Zamora v. Fit Int’l


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Grp. Corp., 834 F. App’x 622, 625 (2d Cir. 2020) (“As to the purpose requirement, a plaintiff must

demonstrate that the members of the association share a common purpose to engage in a particular

fraudulent course of conduct and work together to achieve such purposes.”).

       Mr. Lindell has alleged no facts that plausibly support the inference that Smartmatic and

Dominion were “collectively trying” to accomplish anything, let alone a criminal endeavor. See

Cisneros, 972 F.3d at 1211 (dismissing RICO claim because the complaint lacked “concrete facts

giving rise to the inference” that the defendants banded together to pursue “a common purpose of

fraud”); see also Stankevich, 156 F. Supp. 3d at 94 (same, where plaintiff “failed to identify the

common purpose and shared organizational structure between defendants”); In re Yelverton, 2014

WL 7141938, at *13 (Bankr. D.D.C. Dec. 12, 2014) (same, because “[w]ithout a common

purpose” uniting the defendants, the plaintiff could not “sufficiently allege a RICO enterprise”);

Sheikh, 790 F. App’x at 796 (same, where plaintiff “failed to plausibly plead the existence of even

an informal enterprise”).

       To be sure, Mr. Lindell asserts that Smartmatic and Dominion had “the common purpose

of suppressing speech and dissent to the use of electronic voting machines and suppressing

demands for investigations into the possible use of electronic voting machines to artificially

manipulate voting, vote tabulations, and election results reporting in the 2020 Presidential

Election.” (Compl. ¶ 156.) But he provides no facts to support this conclusory statement. See

Zamora, 834 F. App’x at 625 (rejecting plaintiff’s allegation that the defendant “shared in the

alleged RICO enterprise’s common purpose” because the allegation was “little more than a naked

assertion devoid of further factual enhancement”) (applying Iqbal, 556 U.S. at 678).

       For example, the Complaint identifies no “specific interactions” between Smartmatic and

Dominion. See Cisneros, 972 F.3d at 1213; Liu v. Hopkins Cnty., No. 14-cv-1762, 2015 WL



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4978682, at *4 (D.D.C. Aug. 20, 2015) (dismissing § 1962(c) claim because the complaint

“contain[ed] only conclusory allegations that the [d]efendants acted in concert” and presented “no

facts to suggest that any single [d]efendant ever communicated in any way with any other

[d]efendant about [p]laintiff”). Mr. Lindell never alleges when or how Smartmatic and Dominion

came together either to form or to effectuate their common purpose. See Cisneros, 972 F.3d at

1213 (stressing the absence of allegations “regarding the origins or scope of the alleged scheme”).

Indeed, the Complaint does not allege that Smartmatic “was even aware” of the litigation or cease-

and-desist letters Dominion was considering or pursued. See Liu, 2015 WL 4978682, at *4 (finding

an enterprise was inadequately alleged because no “allegations suggest[ed] that any [d]efendant

was even aware of the purported racketeering activity”); D’Addario v. D’Addario, 901 F.3d 80,

102 (2d Cir. 2018) (same). Nor does the Complaint suggest that Smartmatic (a) had any

“purposeful involvement” in Dominion’s affairs (or vice versa), or (b) controlled or participated

in Dominion’s decisions to pursue litigation or send cease-and-desist letters. See Cisneros, 972

F.3d at 1213.

       Taking a step back, “there is nothing inconsistent or even particularly suspicious about”

the conduct Mr. Lindell targets in his Complaint. Cisneros, 972 F.3d at 1213 (finding that the

complaint failed to make out “a RICO-qualifying common purpose” because no “concrete factual

allegations” showed any criminality in the defendants’ business activities). As Mr. Lindell alleges,

Smartmatic and Dominion have filed separate lawsuits to obtain redress for harm they respectively

suffered; neither Smartmatic nor Dominion is requesting relief for one another.

       •        Smartmatic filed a complaint against Fox News and others in the Supreme Court of
                the State of New York, County of New York. (Ex. B.) Smartmatic is the only
                plaintiff. Smartmatic seeks relief only for the damage caused to Smartmatic, not for
                any damage to Dominion.




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       •       Smartmatic filed a complaint against One America News in this Court. (Case No.
               21-cv-2900, ECF No. 1.) Smartmatic is the only plaintiff. Smartmatic seeks relief
               only for the damage caused to Smartmatic, not for any damage to Dominion.

       •       Smartmatic filed a complaint against Newsmax in the Superior Court of the State
               of the Delaware. (Ex. C.) Smartmatic is the only plaintiff. Smartmatic seeks relief
               only for the damage caused to Smartmatic, not for any damage to Dominion.

       •       Dominion filed complaints against Mr. Lindell, MyPillow, Sidney Powell, Rudy
               Giuliani, Patrick Byrne, Fox News, One America News, and Newsmax.
               (Compl. ¶ 131.) Dominion is the only plaintiff. Dominion seeks relief only for the
               damage caused to Dominion, not for any damage to Smartmatic.

       •       Dominion sent cease-and-desist letters to several individuals and organizations. (Id.
               ¶¶ 128, 132.) Dominion’s letters request that the recipient “cease and desist” from
               defaming Dominion. (Id. ¶ 128.) The letters make no reference to Smartmatic.

“Nothing about” these activities “remotely suggests” criminal conduct. Cisneros, 972 F.3d at 1212.

To infer an “enterprise” from them would not only defy the plausibility standard under Iqbal, but

expose “countless law-abiding companies” to RICO liability through no fault of their own. Id.

       In the end, Mr. Lindell’s allegation that Smartmatic and Dominion forged a criminal

enterprise is insufficient. His Complaint contains no facts that support the inference that

Smartmatic and Dominion “worked together for the same unlawful purpose.” Sheikh, 790 F. App’x

at 796. Count III should be dismissed on this basis alone.

               2.     The relationship requirement of an association-in-fact enterprise is
                      not met.

       To satisfy the “relationship” prong of an association-in-fact enterprise, “a plaintiff must

demonstrate the relationships between the various members and their roles in the purported RICO

scheme.” J.T. v. de Blasio, 500 F. Supp. 3d 137, 167 (S.D.N.Y. 2020). Alleging “independent,

albeit similar, activities” is not enough because it does not show that the actors “functioned as a

unit or that they were associated together for a common purpose of engaging in a course of

conduct.” Propst v. Ass’n of Flight Attendants, 546 F. Supp. 2d 14, 25 (E.D.N.Y. 2008), aff’d, 330

F. App’x 304 (2d Cir. 2009) (citing United States v. Turkette, 452 U.S. 576, 583 (1981)); see also

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Boyle, 556 U.S. at 947 n.4 (2009) (noting that allegations that “several individuals, independently

and without coordination, engaged in a pattern of crimes listed as RICO predicates – for example,

bribery or extortion…would not be enough to show that the individuals were members of an

enterprise”); Quick v. EDUCAP, Inc., 318 F. Supp. 3d 121, 142 (D.D.C. 2018) (dismissing RICO

claim because “Plaintiffs’ allegations belie[d] interconnectedness among all Defendants” in the

alleged enterprise).

       Even if Smartmatic and Dominion had the same alleged purpose in mind (Compl. ¶ 156),

no allegations show that they had a relationship to pursue that purpose. There is no indication that

Smartmatic and Dominion maintained any organization (formal or informal), coordinated any

decisions, or held any defined or undefined role. See Doe v. State of Israel, 400 F. Supp. 2d 86,

119–20 (D.D.C. 2005) (“It is not enough for a group of individuals to commit acts enumerated by

§ 1961(1); plaintiff must assert that those individuals were organized together in some way, and

that there was a structure to the association.”). The Complaint makes no attempt to explain how

Smartmatic and Dominion “associated or operated together, or were otherwise organized into an

enterprise with a shared decision-making infrastructure.” Id. at 120. And the Complaint “never

links” Smartmatic to Dominion “through allegations of common orders or control.” Id. at 119–20

(dismissing RICO claim because the plaintiff’s allegations were insufficient to satisfy “the

‘organization’ element for a criminal enterprise under RICO”).

       In other words, all of the hallmarks that reflect a relationship in an association-in-fact

enterprise are missing here. This deficiency regularly results in dismissal of a RICO claim. See,

e.g., Doe, 400 F. Supp. 2d at 119–20 (“The most palpable deficiency here is the lack of any

inference of ‘organization.’”); Dodd v. Infinity Travel, 90 F. Supp. 2d 115, 117 (D.D.C. 2000)

(dismissing RICO claim for “failure to plead facts identifying the common purpose and



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organizational and decisionmaking structure of the alleged enterprise”); see also Moss v. BMO

Harris Bank, N.A., 258 F. Supp. 3d 289, 301 (E.D.N.Y. 2017) (same, because plaintiff did not

“describe[] with any specificity the personal relationships among the” entities comprising the

alleged enterprise, “let alone how those entities coordinate their activities so as to advance a

collective goal outside of their own discrete pecuniary objectives”); Cont’l Petroleum Corp. v.

Corp. Funding Partners, LLC, No. 11 Civ. 7801, 2012 WL 1231775, at *5–*6 (S.D.N.Y. Apr. 12,

2012) (dismissing RICO claim for failure to “make any concrete factual assertions as to the

mechanics of the interactions among defendants, including facts indicating that the disparate

defendants functioned as a unit”).

       Instead, all Mr. Lindell has alleged is “independent, albeit similar activities.” Propst, 546

F. Supp. 2d at 26 (dismissing RICO claim and denying leave to amend because the complaint was

“entirely deficient in pleading the element of ‘enterprise’”); Moss, 258 F. Supp. 3d at 301 (same,

because the complaint lacked “facts [that] support an inference that the [defendants] were acting

in any way but in their own independent interests”). Every act the Complaint attributes to

Smartmatic and Dominion following the 2020 U.S. election shows that they were pursuing “their

own independent interests.” In February and November 2021, Smartmatic filed lawsuits. (Compl.

¶ 16.) Separately, Dominion filed lawsuits and sent out cease and desist letters. (Id. ¶¶ 128, 132.)

Smartmatic sought no relief on behalf of or for Dominion; Dominion sought no relief on behalf of

or for Smartmatic. The lawsuits were filed at different times by different lawyers. Mr. Lindell

alleges no facts that hint at coordination between Smartmatic and Dominion regarding these acts.

       What is more, the facts Mr. Lindell does allege underscore the lack of a RICO relationship.

One, the Complaint alleges that Dominion “voting machines utilize Smartmatic software (or

software previously designed, created, modified, and sold by Smartmatic)….” (Compl. ¶ 156.)



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Even if this allegation were true (it isn’t), it says nothing about how Smartmatic and Dominion are

allegedly associated or acting together for a common criminal purpose. See Rao v. BP Prods. N.

Am., Inc., 589 F.3d 389, 400 (7th Cir. 2009) (dismissing RICO claim where plaintiff alleged

“different actors for each event” and “d[id] not indicate how the different actors [were] associated”

or “act[ed] together for a common purpose”); de Blasio, 500 F. Supp. 3d at 169 (same, because

plaintiff could not “plausibly” allege that the defendants “bonded together” over an illicit purpose

“or that they acted together as a unit to achieve that purpose”).

       Two, Mr. Lindell alleges that Dominion and Smartmatic “share common employees or

contractors” and “co-working space.” (Compl. ¶ 156.) Presumably, Mr. Lindell is referring either

(a) to the two individuals he claims once worked for Smartmatic, or (b) to the “at least four

additional employees” who purportedly work for Dominion at Smartmatic’s Florida office. (See

id. ¶ 62.) These allegations do not move the needle. Mr. Lindell makes no attempt to link any of

the people he identifies to the alleged enterprise. Nor does he describe any “personal relationships”

between the defendants “with any specificity,” “let alone how [the defendants] coordinate[d] their

activities so as to advance a collective goal outside of their own discrete pecuniary objectives.”

Moss, 258 F. Supp. 3d at 301; see also Abbott Labs. v. Adelphia Supply USA, 2017 WL 57802

(E.D.N.Y. Jan. 4, 2017) (dismissing RICO claim because the complaint lacked “factual allegations

showing” that the defendants “had an interpersonal relationship in which they worked together for

a common illicit interest”). Mr. Lindell’s allegation of a co-working space fares no better.

Accepting the (inaccurate) allegation at face value, nothing in the Complaint explains how that

location played any role in the purported enterprise. See Elsevier v. W.H.P.R., Inc., 692 F. Supp.

2d 297, 307 (S.D.N.Y. 2010) (dismissing RICO claim even though the defendants shared the same




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address because the plaintiffs did not “specifically contend that [defendants] used [the] address in

furtherance of the fraud”).

       Last, Mr. Lindell relies on the alleged “historical and functional connections to Sequoia

and other legacy voting systems” to show an association-in-fact. (Compl. ¶ 156.) But, again, Mr.

Lindell draws no connection between those alleged “connections” and any criminal organization.

He also offers no information to suggest that Smartmatic’s divestiture of Sequoia a decade ago

somehow connects it to Dominion’s litigation activities today. See Compl. ¶ 58; see also Moss,

258 F. Supp. 3d at 305 (dismissing RICO claim in the absence of “anything indicating coordination

. . . beyond that of an ordinary business relationship”); Abbott Labs, 2017 WL 57802, at *7 (same,

because “no factual allegations suggest[ed]” more “than an arm’s-length business relationship”);

Singh v. NYCTL 2009-A Trust, No. 14 Civ. 2558, 2016 WL 3962009, at *10 (S.D.N.Y. July 20,

2016) (“Without a discernible organization or at least some unitary function, the mere existence

of routine business relationships among the defendants is insufficient to establish an ‘enterprise’

under RICO.”). Smartmatic has no relationship with Dominion, and Mr. Lindell cannot allege

otherwise. His RICO claim fails.

               3.      The longevity requirement of an association-in-fact enterprise is not
                       met.

       The “longevity” requirement “merely means that the ‘relationships’” that bind the

enterprise “persist long enough to accomplish the ‘purpose’ of the enterprise.” See Browning v.

Flexsteel Indus., Inc., 955 F. Supp. 2d 900, 912 (N.D. Ind. 2013) (explaining “the post-Boyle

enterprise requirement” and dismissing a RICO claim for failing to meet it); see also Boyle, 556

U.S. at 941, 951 (finding sufficient longevity in a conspiracy to commit dozens of bank thefts

spanning over a decade); Quick, 318 F. Supp. 3d at 142 (dismissing RICO claim because “the so-




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called [enterprise] did not share the same purpose, did not have mutually dependent relationships,

and did not have the longevity to pursue the alleged purposes”).

       Mr. Lindell cannot demonstrate sufficient “longevity” here for two reasons. First, longevity

presumes that a common purpose exists, and that relationships have formed among the associates

to achieve it. But neither of these structural features is present here, so the Court cannot advance

to the next step of examining their longevity. Second, Mr. Lindell recognizes that the lack of a

current relationship means he must dredge the past for anything resembling a connection and

contend that it still exists. And, indeed, he identifies “connections” from a decade ago: a 2009

agreement in which Smartmatic leased optical scanning technology from Dominion, Smartmatic’s

2007 divestiture of Sequoia, and Dominion’s 2010 acquisition of Sequoia. (Compl. ¶¶ 58, 60–62.)

But Mr. Lindell alleges no facts to link those “historical[]” (Id. ¶ 61) events to the litigation

Smartmatic and Dominion have independently pursued this past year.

       Absent any “continuity” between the “connections” between Smartmatic and Dominion

(Id. ¶¶ 60–62, 156) and the alleged association-in-fact, Mr. Lindell cannot fashion an enterprise.

See Browning, 955 F. Supp. 2d at 913 (finding no enterprise where the complaint alleged an

“interpersonal relationship” more than ten years prior, and those allegations “establish only that

[the defendants] were employed together…not that they worked toward a common criminal

purpose”). As a result, Mr. Lindell’s RICO claim is deficiently pled and must be dismissed.

       D.      Mr. Lindell fails to allege that Smartmatic and Dominion engaged in a RICO
               conspiracy.

       Mr. Lindell’s RICO conspiracy claim fails for the same reasons his substantive RICO claim

fails. The RICO conspiracy provision makes it “unlawful for any person to conspire to violate any

of the provisions of subsection (a), (b), or (c) of” 18 U.S.C. § 1962. See 18 U.S.C. § 1962(d).

Because Mr. Lindell has failed to plead facts supporting a plausible RICO violation under 18


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U.S.C. § 1962(c), his claim under § 1962(d) must fail. See E. Sav. Bank, 31 F. Supp. 3d at 15–16

(dismissing claim for conspiracy to violate RICO “because there was no violation in which the

defendant could have conspired”).

                                        CONCLUSION

       Mr. Lindell’s Complaint, at bottom, is a crusade without a claim. It is a stunt. His claims

against Smartmatic have no basis in fact or law. Accordingly, Smartmatic respectfully respects

that the Court grant Smartmatic’s Motion to Dismiss in its entirety.



Dated: December 8, 2021

                                          /s/ J. Erik Connolly

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